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 9                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                                       )
11    STATE OF CALIFORNIA, et al.,                     )
                                                       )
12
              Plaintiffs,                              )
13                                                     )
                               v.                      )
14                                                     )
      U.S. BUREAU OF LAND                              )
15    MANAGEMENT, et al.                               )
                                                       ) Case No. 4:18-cv-00521-HSG (related)
16
            Defendants.                                )
17    _________________________________                ) Case No. 4:18-cv-00524-HSG (related)
                                                       )
18    SIERRA CLUB, et al.,                             ) STIPULATION
                                                       )
19            Plaintiffs,                              )
20                                                     )
                               v.                      )
21                                                     )
      RYAN ZINKE, et al.                               )
22                                                     )
              Defendants.                              )
23                                                     )
24
             On November 26, 2018 and December 13, 2018, Federal Defendants sent all parties “clawback”
25
     letters under Federal Rule of Civil Procedure 26(b)(5) and Federal Rule of Evidence 502(b) identifying
26
     eight documents as having been inadvertently disclosed in the original administrative record and that
27

28 Federal Defendants believe contained privileged information. Environmental Plaintiffs have
     Stipulation                                                                                     1
     California v. BLM, 4:18-cv-00521-HSG; Sierra Club v. Zinke, 4:18-cv-00524-HSG
               Case 4:18-cv-00521-HSG Document 98 Filed 02/19/19 Page 2 of 3



 1 sequestered, but not destroyed, these eight documents because Environmental Plaintiffs believe that the

 2 documents involve statements that the government has put at issue in this case (or may put at issue

 3
     during summary judgment briefing), which would waive the government’s assertion of privilege.
 4
     Federal Defendants contend that they have not put the privileged statements at issue and that the
 5
     Environmental Plaintiffs cannot retain privileged documents subject to a clawback based on hypothetical
 6
     future actions. The parties disagree whether Rule 26(b)(5) gives Environmental Plaintiffs the option of
 7

 8 sequestering, rather than destroying or returning, the documents under these circumstances. Federal

 9 Defendants contend that sequestration is appropriate only while a party seeks more information on the

10 basis for the clawback or while a party challenges the clawback in Court. The Environmental Plaintiffs

11
     contend that no such limitation applies under Rule 26(b)(5). The Environmental Plaintiffs and Federal
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     Defendants, however, agree that it is unnecessary for the Court to resolve this dispute (if at all) prior to
13
     summary judgment briefing in this case.
14

15           Accordingly, in order to facilitate efficient resolution of disputes and to avoid potentially
                                                                                                     1
16 unnecessary motion practice, Federal Defendants and Environmental Plaintiffs stipulate as follows:

17       1) Environmental Plaintiffs have not disclosed the eight documents and have segregated them from
18           the rest of the administrative record materials to prevent any future inadvertent disclosures.
19
             They will continue to sequester the eight documents. Environmental Plaintiffs will not use or
20
             disclose the eight documents for any purpose prior to resolving any challenges to Federal
21
             Defendants’ privilege claims.
22

23       2) Federal Defendants will not file a motion to compel destruction of the eight documents while

24           Environmental Plaintiffs are considering whether to challenge Federal Defendants’ privilege

25           claims.
26

27
   1
     All other parties have represented to Federal Defendants that they have destroyed the eight documents
28 and, accordingly, they are not signatories to this stipulation.
     Stipulation                                                                                             2
     California v. BLM, 4:18-cv-00521-HSG; Sierra Club v. Zinke, 4:18-cv-00524-HSG
               Case 4:18-cv-00521-HSG Document 98 Filed 02/19/19 Page 3 of 3



 1       3) Environmental Plaintiffs will not argue that any delay from Federal Defendants waiting for

 2           Environmental Plaintiffs pursuant to # 2, above, constitutes waiver of the privilege claims.
 3
         4) Federal Defendants will not argue that any delay from Environmental Plaintiffs’ deferral of a
 4
             challenge to Federal Defendants’ privilege claims waives the Environmental Plaintiffs’ right to
 5
             challenge those claims.
 6
         5) Environmental Plaintiffs will notify Federal Defendants when they reach a final decision as to
 7

 8           whether they will challenge Federal Defendants’ privilege claims.

 9
             IT IS SO STIPULATED.
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                                                               Respectfully submitted,
11
                                                               JEAN E. WILLIAMS
12                                                             Deputy Assistant Attorney General
13 Date: February 19, 2019                                     _/s/ Rebecca Jaffe      ___
                                                               Rebecca Jaffe
14                                                             Trial Attorney
                                                               Attorney for Federal Defendants
15

16
     Date: February 19, 2019                                   _/s/ Michael Freeman         __
17                                                             Michael S. Freeman
                                                               Attorney for Plaintiffs
18

19

20 PURSUANT TO STIPULATION, IT IS SO ORDERED.

21 DATE:         2/19/2019
                                                                       Hon. Haywood S. Gilliam, Jr.
22                                                                     United States District Judge

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     Stipulation                                                                                       3
     California v. BLM, 4:18-cv-00521-HSG; Sierra Club v. Zinke, 4:18-cv-00524-HSG
